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Enterprise Rent-A-Car Company of Alaska



                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA

                             AT ANCHORAGE


JOEL SCHILLING,               )
                              )
               Plaintiff,     )        Case No. 3:07-cv-_____-___
                              )
     vs.                      )
                              )
YU KANG TAI and ENTERPRISE    )
RENT-A-CAR COMPANY OF ALASKA, )
                              )        NOTICE OF REMOVAL
               Defendants.    )
______________________________)


TO:   The United States District Court for the District of Alaska
      Charles W. Coe

      You are hereby notified that, pursuant to 28 U.S.C. '' 1332,

1441 and 1446, Defendant Enterprise Rent-A-Car Company of Alaska

("Enterprise") has this day filed in the United States District

Court for the District of Alaska this Notice of Removal to the

United States District Court of the action brought by Plaintiff in

the Superior Court for the State of Alaska, Third Judicial District

at Anchorage, Case No. 3AN-07-9867 Civil.        You are also notified

that Defendant Enterprise has filed a copy of this notice with the




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Clerk of the Superior Court for the Third Judicial District at

Anchorage (attached as Exhibit A), and that said action has thereby

been removed from the Superior Court to the United States District

Court.

      The ground for removal is diversity of citizenship.           28 U.S.C.

'' 1332, 1441.

      There    is   complete   diversity   of   citizenship      between   the

parties.      Plaintiff is a citizen of Alaska.       The citizenship of

Defendant Tai can be disregarded as it appears he has not yet been

served.     Nevertheless, the information available to Enterprise

indicates that Defendant Tai is a citizen of the state of New York.

Defendant Enterprise Rent-A-Car Company of Alaska no longer exists

as a separate entity.          Prior to the accident alleged in the

complaint, Enterprise Rent-A-Car Company of Alaska was merged into

Enterprise Leasing Company, a Washington corporation with its

principal place of business in Renton, Washington.

      The   amount   in   controversy   exceeds   $75,000,    exclusive     of

interest and costs, as required by 28 U.S.C. §1332(a), as evidenced
by Plaintiff’s filing his complaint in the Superior Court for the

State of Alaska, as opposed to the District Court for the State of

Alaska, which has jurisdiction of civil cases in which the amount

claimed does not exceed $100,000 from each defendant.                      A.S.

22.15.030(a)(1).

      Based on the above, this Court has original jurisdiction over

this action, and Defendant Enterprise is entitled to remove this

action to this Court from the Superior Court for the State of

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Alaska.      28 U.S.C. '' 1332, 1441, 1446.

       DATED this 11th day of October, 2007, at Anchorage, Alaska.

                                      By:   s/Alfred Clayton, Jr.

                                      BLISS, WILKENS & CLAYTON
                                      Counsel for Defendant
                                      Enterprise Rent-A-Car Company
                                      Of Alaska
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                                      Fax: (907) 276-2956
                                      [ABA No. 9111079]
CERTIFICATE OF SERVICE
I hereby certify that on 10/11/07, a copy
of the foregoing document was
served via mail on:

Charles W. Coe
805 W. Third Ave. #100
Anchorage, AK 99501

s/Alfred Clayton, Jr.


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